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UNITED STATES DISTRICT COURT __
SOUTHERN DISTRICT OF NEW YORK |

 

 

BOSS WORLDWIDE LLC, d/b/a ALGO
ONLINE RETAIL,
Plaintiff,
v. C.A. No. 19-cv-2363 (VLB)
BEAU CRABILL,
Defendant.

 

 

 

ORDER FOR ADMISSION PRO HAC VICE
FOR JEREMY D. ANDERSON

The motion of Jeremy D. Anderson for admission to practice Pro Hac Vice in the above
caption action is granted.

Applicant has declared that he is a member in good standing of the bar of the State of
Delaware; and that his contact information is as follows:

Jeremy D. Anderson

(Delaware Bar No, 4515)

Fish & Richardson P.C.

222 Delaware Avenue, 17" Floor
Wilmington, DE 19801
janderson@fr.com

(302) 652-5070 Telephone

(302) 652-0607 Facsimile

Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel
for Defendant Beau Crabill in the above-captioned action;

IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice in the
above-captioned case in the United States District Court for the Southern District of New York.

All attorneys appearing before this Court are subject to the Local Rules of this Court, including

the Rules governing discipline of attorneys. { lV (
- * : 4 | { ' Ne
Dated: (<2 fot , Go V/ Wf

United States District Judge
Vincent Briccetti

 

 
